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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:20-CV-21843

  GINETTE LUXAMA,

         Plaintiff,
  vs.

  CITY OF MIAMI BEACH, a
  municipality governed under
  the laws of the State of Florida,

       Defendant.
  ____________________________/

                                    COMPLAINT AND
                                 DEMAND FOR JURY TRIAL

         Plaintiff GINETTE LUXAMA, through her undersigned counsel, sues Defendant

  CITY OF MIAMI BEACH, a municipality governed under the laws of the State of Florida,

  for damages, and in support thereof alleges as follows:

                                 JURISDICTION AND VENUE

         1.     This action is brought pursuant to Title VII of the Civil Rights Act of 1964, 42

  U.S.C. § 2000e et seq., as amended (“Title VII”) and the Florida Civil Rights Act of 1992,

  Fla. Stat. § 760.01, et seq., as amended (“FCRA”). Plaintiff suffered as a result of being

  exposed to sex/gender discrimination, sexual harassment, sexual assault, hostile work

  environment, and wrongful termination.

         2.     This Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

  § 1331 because this action involves federal questions. The Court also has supplemental

  jurisdiction over related state law claims pursuant to 28 U.S.C. § 1367. As further set forth

  below, this is an action with claims of sex discrimination and unlawful retaliation under

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  federal and state law.

         3.      Plaintiff GINETTE LUXAMA is a resident of Miami-Dade County, Florida,

  and is competent to bring this action.

         4.      Defendant CITY OF MIAMI BEACH is a municipality governed under the

  laws of the State of Florida, and is sui juris.

         5.      Venue in the Southern District of Florida is proper because the workplace in

  which the unlawful practices were committed is located in the Southern District of Florida.

         6.      All conditions precedent to bringing this action, if any, have occurred, have

  been waived, or would be a useless act and are accordingly waived.

         7.      Plaintiff is entitled to recover reasonable attorneys’ fees and costs from

  the Defendant, including but not limited to the provisions set forth in the FCRA and Title

  VII.

         8.      Plaintiff has retained the undersigned law firm to represent her in this

  action, and has agreed to pay a reasonable fee.

                                   GENERAL ALLEGATIONS

         9.      Plaintiff GINETTE LUXAMA brings this action against the CITY OF MIAMI

  BEACH for sex discrimination in the workplace in violation of Title VII of the Civil Rights Act

  of 1964, 42 U.S.C. § 2000e et seq., as amended and the Florida Civil Rights Act of 1992,

  Fla. Stat. § 760.01, et seq., as amended.

         10.     GINETTE LUXAMA was employed as a financial analyst for the CITY OF

  MIAMI BEACH until she was unlawfully terminated by the CITY OF MIAMI BEACH on or

  about May 1, 2019.


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        11.    Ms. Williams has a history of sexually harassing Plaintiff, as well as

  demeaning and harassing her.

        12.    On Mother’s Day 2017, Ms. Williams sent Plaintiff a message stating “IT’S

  LIKE MY MOM ALWAYS SAID … ‘What the fuck is wrong with you?’”:




        13.    Another instance where Ms. Williams’ sexually harassing comments were

  confirmed in writing stems from a March 2018 conversation in the office, in which Ms.

  Williams referred to Plaintiff’s body as “Secretariat.” Ms. Williams knew Plaintiff was

  offended by her comments and proceeded to text Plaintiff on a weekend about the

  exchange:




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             14.   On or about May 29, 2018, Ms. Williams sent a text message to Plaintiff that

  contained a photograph of Plaintiff that Plaintiff had posted to her social media account in

  October 2014, along with an accompanying statement by Ms. Williams that Plaintiff is “hot

  stuff.”:




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         15.    During that same text conversation, Ms. Williams also inappropriately

  indicated that the dress from that photo, “probably fits even better,” and added a winking

  emoji with a tongue hanging out:




         16.    Moreover, in the weeks and months leading up to her termination, GINETTE

  LUXAMA was subjected to unwelcome sexual harassment. This sexual harassment

  adversely affected Plaintiff’s employment, performance, and created an intimidating,

  hostile, and/or offensive work environment for her. The sexual harassment mostly came

  from Plaintiff’s direct supervisor, Ms. Allison Williams.

         17.    Ms. Williams would regularly make unwelcome sexually harassing

  comments and other conduct of a sexual nature, including, but not limited to, the following:

                a.      Touching Plaintiff’s buttocks;

                b.      Adjusting Plaintiff’s dresses and outfits, including adjusting areas of

         clothing covering Plaintiff’s breasts and buttocks;

                c.      Instructing Plaintiff that she is never to bend over in the workplace –

         even to pick up any item she may have dropped – because Plaintiff’s body is

         sexually arousing and harassing to other employees;

                d.      Instructing Plaintiff that she is never to stand alone next to employees

         because Plaintiff’s body is sexually arousing and harassing to other employees;

         and

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                 e.       Making sexually harassing and discriminatory statements to Plaintiff

         such as:

                        i.        “You are a walking sexual harassment case.”

                       ii.        “Your ass is the devil.”

                       iii.       “You look like a call girl.”

                      iv.         “You must have been a stripper.”

                       v.         “You have too much ass.”

                      vi.         If I looked like you, I would not work. I would just let a man

                 fuck me and suck his dick.”

         18.     Ms. Allison Williams also threatened Plaintiff to her face by exclaiming, “I will

  fire your ass and the City of Miami Beach has lawyers to make sure you will not win any

  suit against the City. No one will believe you because I have made a file on you.”

         19.     Plaintiff timely filed a Charge of Discrimination with the Equal Employment

  Opportunity Commission and Florida Commission on Human Relations. The EEOC issued

  Plaintiff a Right to Sue notice on February 26, 2020.


                                                COUNT I

                            SEX DISCRIMINATION IN VIOLATION OF
                          TITLE VII OF THE CIVIL RIGHTS ACT OF 1964


         20.     Plaintiff repeats and re-alleges the allegations of Paragraphs 1 through 19

  as if fully set forth herein.

         21.     Plaintiff belongs to a protected class, as she is a woman.



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          22.    Defendant unlawfully discriminated against Plaintiff by treating her

  unfavorably and/or less favorably because of her sex; including by harassing the

  Plaintiff, sexually and otherwise; making sexually inappropriate and demeaning

  statements to and about the Plaintiff; and inappropriately touching the Plaintiff in a

  sexual manner, among other things.

          23.    Plaintiff suffered as a result of being exposed to sex/gender discrimination,

  sexual harassment, sexual assault, hostile work environment, and wrongful termination.

          24.    Defendant treated similarly situated, male employees more favorably than

  Plaintiff.

          25.    Defendant had no legitimate business reason for their discriminatory

  behaviors and actions against Plaintiff.

          26.    Defendant had no legitimate business reason for taking adverse actions

  against Plaintiff.

          27.    Alternatively, if Defendant did have any legitimate business reason(s) to

  take any of the aforementioned adverse actions against Plaintiff, then discrimination

  was at least an additional reason for the aforementioned adverse actions against

  Plaintiff, and Defendant, at best, possessed mixed motives.

          28.    In discriminating against Plaintiff, Defendant acted with malice and

  reckless disregard for Plaintiff’s federally protected rights.

          29.    As a result of the Defendant’s unlawful discrimination, Plaintiff has

  suffered damages.




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         WHEREFORE,          Plaintiff   GINETTE   LUXAMA     demands     judgment    against

  Defendant CITY OF MIAMI BEACH for all allowable remedies (equitable and/or at law)

  pursuant to Title VII of the Civil Rights Act of 1964, all allowable compensatory

  damages, liquidated damages, damages for emotional distress, mental anguish, and

  loss of dignity; and punitive damages; attorneys’ fees; taxable costs allowable by law;

  prejudgment and post-judgment interest; and such other and further relief as this Court

  deems just and proper.


                                            COUNT II

                        SEX DISCRIMINATION IN VIOLATION OF THE
                           FLORIDA CIVIL RIGHTS ACT OF 1992


         30.     Plaintiff repeats and re-alleges the allegations of Paragraphs 1 through 19

  as if fully set forth herein

         31.     Plaintiff belongs to a protected class, as she is a woman.

         32.     Defendant unlawfully discriminated against Plaintiff by treating her

  unfavorably and/or less favorably because of her sex; including by harassing the

  Plaintiff, sexually and otherwise; making sexually inappropriate and demeaning

  statements to and about the Plaintiff; and inappropriately touching the Plaintiff in a

  sexual manner, among other things.

         33.     Plaintiff suffered as a result of being exposed to sex/gender discrimination,

  sexual harassment, sexual assault, hostile work environment, and wrongful termination.




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          34.    Defendant treated similarly situated, male employees more favorably than

  Plaintiff.

          35.    Defendant had no legitimate business reason for their discriminatory

  behaviors and actions against Plaintiff.

          36.    Defendant had no legitimate business reason for taking adverse actions

  against Plaintiff.

          37.    Alternatively, if Defendant did have any legitimate business reason(s) to

  take any of the aforementioned adverse actions against Plaintiff, then discrimination

  was at least an additional reason for the aforementioned adverse actions against

  Plaintiff, and Defendant, at best, possessed mixed motives.

          38.    In discriminating against Plaintiff, Defendant acted with malice and

  reckless disregard for Plaintiff’s statutorily protected rights.

          39.    As a result of the Defendant’s unlawful discrimination, Plaintiff has

  suffered damages.

          WHEREFORE,        Plaintiff   GINETTE     LUXAMA       demands   judgment   against

  Defendant CITY OF MIAMI BEACH for all allowable remedies (equitable and/or at law)

  pursuant to the Florida Civil Rights Act of 1992, all allowable compensatory damages,

  liquidated damages, damages for emotional distress, mental anguish, and loss of

  dignity; and punitive damages; attorneys’ fees; taxable costs allowable by law;

  prejudgment and post-judgment interest; and such other and further relief as this Court

  deems just and proper.




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                                DEMAND FOR JURY TRIAL

        40.    Plaintiff demands a trial by jury for all issues so triable.

                                            Respectfully submitted,

                                            THE BURTON FIRM, P.A.
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                                      By: /s/ Marc A. Burton
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